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DALLAS DlVlSlON

UNlTED STATES BANKRUPTCY COURT
NORTHERN DlSTR|CT OF TEXAS

AMENDED

Vo|untary Petition
Case #: 06-31209-BJH-7

 

 

Name of Debtor (ifindividt.la|, enter Last, First, Middle):
Cosme, Raymond R.

Name of Joint Debtor (Spouse) {Last, Firstl Middle):

 

A|| Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

dba Advantage Tax

A|| Other Names used by the Joint Debtor in the tast El years
(include married, maiden. and trade names):

 

Last tour digits of Soc. Sec..tComp|ete ElN or other Tax er. No. (i'f more
than onel state all):

xxx-xx-7634

Last four digits of Soc. Sec.lComplete ElN or other Tax LD. No. (`rt more
than one, State a|l):

 

Street Address of Debtor (No. & Street, City. and State);
2025 Hillcroft

 

 

StreetAddress of Joint Debtor (No. & Streetl City, and State):

 

 

 

 

 

 

 

 

 

 

Rockwa|l, TX

ZlPCODE ZlPCODE

75087

County of Residence or of the Principa| Ptace of Business: County of Residence or of the Principa| Place of Business:
Rockwa|l
Mai|ing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (ifdifferent from street address);

Z|PCODE ZlPCODE
Location ot Principal Assets of Business Debtor (if different from street address above):

ZIPCODE

 

 

Nature of Business
(Check all applicable boxes.)

Type of Debtor (Form ofOrganization)
(Checl< one box.)

State type of entity;

lhdrvidual (includes Joint Debters} m Hea"h Care Business
m C°rp°ra"°" ‘i"“'“°e‘°‘ LLC and '~'~P) |:| single Asset neal Eslate de defined
|:| Pannership in 11 u.s.cr§101(51a)
|:| Olher (if debtor re nos one of the above I:| Railrdad
entitiesl checkthis boxand provide the Sf kb k
information requested below.} |:| °C m er
r_'] Commodity Broker

Ciearing Bank

Nonprofrt Organization qualilied
under 15 u.s.c. § 501{¢)(3)

l:l

 

Chapter of Bankruptcy Code Under Which
the Petition is Filed (Cheo|< one box)

|:| chapter 15 Petihon for Recegn'rherr
of a Foreign Main Proceeding

|:l chapter 15 Petmon for Recognm'on
ofa Foreign Nonmain Prooeeding

chapter? |:| chapter11
[:| chapters |:| chapter 12
|:| chapter13

 

Nature of Debts
|:| ConsumerlNon-Business

(Cheok one box)

M Business

 

 

Fiting Fee (Check one box)
Full Filing Fee attached
l:l

Fi|ing Fee to be paid in installments (App|icable to individuals on|y)

Must attach signed application for the oourt's consideration certifying that the
debtor is unable to pay fee except in installments Ru|e 1006(b). See 0ftioial
Form 3A.

m Fi|ing Fee waiver requested (App!icab|e to chapter 'i' individuals only). Must
attach signed application forthe court's consideration See Oftil::il| Fon'n 351

 

Chapter 1 1 Debtors
Check one box:
m Debtor is a small business debtor as defined by 11 U,S.C. § 101(51D).
m Debtor is not a small business debtor as detined in 11 U.S.C1 § 101(51D)‘

 

Check if:

|:| Debtor‘s aggregate noncontigent liquidated debts owed to nonsinslders or
afti|iates are lossthan $2 mit|ion.

 

 

 

 

 

Statisticall'Admirlistrative information TH|S SPACE lS FOR COURT USE ON L¥
|:l Debtor estimates that funds will be available for distribution to unsecured creditors
Debtor estimates thatl after any exempt property is excluded and administrative expenses paid,
there will be no funds available for distribution to unsecured creditors
Estimated Number
of Crednors 1- 50- 100- 200- 1,000- 5.001A 10,001- 25,001~ 50.001- OVER
49 99 199 999 5.000 10,0[10 25.000 50.000 100.000 100,000
El l'_`l |:l lIl l:t l:l El ij lIl
Estimated Assets
$0 to $50,001 to $100,001 to $500.001 to $1,000.001 to $10.000,001 to $50,000.001 to More than
$50,000 $100,000 $500.000 $1 million $10 million $50 million $100 miltion $100 million
[`_'l |I| |:l Cl lIl |Il lI|
Estimated Debts
$0 to $50.001 to $100,001 to $500,001 to $1,000.001 to $10,000,001 to $50,000,001 to More than
$50.000 $100.000 $500,000 $1 million $10 million $50 million $100 million $100 million
E| |I| El |Il El |] E|

 

 

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Vo|untary Petition
(Thr`s page must be completed and filed in every case)

Name of Debtor(s): Rayl'nond R. CDSme

 

Prior Bankruptcy Case Filed Within Last 8 Years

(lf more than twol attach additional sheet)

 

Location Where Filed:

ease NUIleBr.`

Date Filed:

 

Localion Where Filed!

Case Nurnberj

Date Filedi

 

Pending Bankruptcy Case Filed by any Spouse, Partner or

Affi|iate of this Debtor

(lf more than one, attach additional sheet)

 

 

 

 

{To be completed if debtor is required to tile periodic reports {e.g.. forms 10K and
‘lUQ) with the Securities and Exchange Commission pursuant to Section 13 0r15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)

m EXhibit A lS attached and made 3 Pal'l Of fhlS petition

Name of Debtor: Case Number: Date Filed:
Cocina Ca|iente - Rosemeade Ltd. 06-31206 3l24l2006
District? Relationship; Judge:
N.D. Texas Affiliate

Exhibit A Exhibit B

(To be completed if debtor is an individual

whose debts are primarily consumer debts`)
l, the attorney forthe petitioner named in the foregoing petition, declare that l have
informed the petitioner that [he or she] may proceed under chapter 7. 11, 12.or13
oftit|e 11, United States Codel and have explained the retief available under each
such chapter
l further certify that |`de|ivered to the debtor the notice required by § 342(b) of the
Bankruptcy Code.

X

 

Date

 

Exhibif C
Does the debtor own or have possession of any property that poses or is alleged to
pose a threat of imminent and identinable harm to public health or safety?

|:'| Yesl and Exhibit C is attached and made a part of this petition.

-No

Certit'rcation Concerning Debt Counseling
by lndividua|lJoint Debtor(s}

m llwe have received approved budget and credit counseling during the 180-dayl
period preceding the filing of this petition.

|:| |lwe request a waiver of the requirement to obtain budget and credit counseling
prior to filing based on exigentcircumstances. (Must attach cert`t'cation
describing.}

 

 

§

|nformation Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)

Debtor has been domiciled or has had a residencel principal place of business, or principal assets in this District for 100 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

|:| There is a bankruptcy case concerning debtors affiliate general partner, or partnership pending in this District.

m Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
or the interests of the parties will be served in regard to the relief sought in this District.

 

|:| Landlord has a judgment against the debtor for possession of debtors

Name of landlord that obtained judgment
Address of |andlord:

petition.

 

Statement by a Debtor Who Resides as a Tenant of Residential Property
Check all applicable boxes.

residence (|f box checked, complete the fcilowl`ng.)

m Debtor claims that under applicable nonbankruptcy taw, there are circumstances under which the debtor would be permitted to cure the entire
monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

|:| Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the

 

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Vo|untary Petition
(This page must be completed and filed in every case)

Name oroehtdr(e): Raymond R. Cosme

 

Signatures

 

Signature(s) of Debtor(s) (|ndividua|iJoint)
l declare under penalty of perjury that the information provided in this petition is
true and correct.
[lf petitioner is an individual whose debts are primarily consumer debts and has
chosen to tile under chapter i'] | am aware that l may proceed under chapter 7,
11l 12 or 13 of title 11. United States Code. understand the relief available under
each such chapter. and choose to proceed under chapter 7.
[lf no attorney represents me and no bankruptcy petition preparer signs the
petition] l have obtained and read the notice required by § 342{b) of the
Bankruptcy Code.

l request relief in accordance with the chapter of title 11l United States Code,

specified in this pM z

Raymor(d R. C‘bsme
X

 

 

Te|ephone Number (lf not represented by an attorney)

l
Date

Signature of a Foreign Representative

l declare under penalty of perjury that the information provided in this petition is true
and correct, that l am the foreign representative of a debtor in a foreign proceedingl
and that l arn authorized to file this petition.

{Check only one bo)<.)

lrequest relief in accordance with chapter 15 of title 11, United States Code.
Certifled copies of the documents required by § 1515 of title 11 are attached

|:| Pursuant to § 1511 oftitle 11, United States Code. l request relief in accordance
with the chapter of title 11 specified in this petition. A certihed copy ofthe
order granting recognition of the foreign main proceeding is attached.

X

 

(Signature of Foreign Represenfative)

 

(Printed Name of Foreign Representative)

 

(Dat€)

 

Houlard Marc spector ear Ne. 00785023

X

 

Howard Marc Spector, P.C.
12770 Coit Road

Suite 1100

Dallas, TX 75251

Phone No. 21 365 377 Fax No.j214[ 237-3380
‘{t / 010 5

Date '

 

 

Signature of Debtor (CorporationiFartnership}

| declare under penalty of perjurythat the information provided in this petition is
true and correct, and that l have been authorized to tile this petition on behalf of
the debtor.

The debtor requests reliefin accordance with the chapter oftit|e 11l United States
Code, specified in this petition.

X

 

 

Printed Name of Authorized individual

 

Tit|e of Authorized individual

 

Date

Signature of Non-Attorney Petition Preparer
l declare under penalty of perjury that: 1) lam a bankruptcy petition preparer as
denned in 11 U.S.C. § 110; 2) l prepared this documentfor compensation and
have provided the debtor with a copy of this document and the notices and
information required under 11 U.S‘C. §§ 110(b), 110{h), and 342(b); andl 3) ifrules
or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a
maximum fee for services chargeable by bankruptcy petition preparers, l have
given the debtor notice of the maximum amount before preparing any document
for n|ing for a debtor or accepting any fee from the debtor, as required in that
section. Official Form 198 is attached.

 

Printed Name and title, if anyl of Bankruptcy Petition Preparer

 

Social Security number (|fthe bankruptcy petition preparer is not an individua|,
state the Socia| Security number of the ott"rcer. principall responsible person or
partner ofthe bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 

 

Address

X

 

 

Date

Signature of Bankruptcy Petiton Preparer or officer, principa|, responsible personl or
partner whose social security number is provided above.

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is not
an individual:

if more than one person prepared this documentl attach additional sheets
conforming to the appropriate offrcia| form for each person.

A bankruptcy petition preparers failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in lines or
imprisonment or both (11 U.S.C. § 110; 18 U.S.C.§156).

 

 

